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                           IUNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
____________________________________
                                    )
UNITED STATES OF AMERICA,           )
                                    )
      v.                            )                Crim. Action No. 19–0125 (ABJ)
                                    )
GREGORY B. CRAIG,                   )
                                    )
                  Defendant.        )
____________________________________)


                                            ORDER

       The Court held a pretrial conference on August 6, 7, and 9, 2019 at which, among other

things, it heard argument and ruled on the admissibility of the parties’ exhibits. This order

reflects those rulings, as well as rulings on some exhibits for which the Court had deferred

ruling during the pretrial conference.

       The Court reserved ruling on a number of exhibits related to what has been referred to as

“Project Two” in anticipation of the government’s selection of some subset of documents to

introduce and the possible redaction of those documents. But the Court finds that evidence

related to the existence of Project Two is relevant to the jury’s consideration of whether

defendant’s statements to the FARA Unit were false or misleading, or if information was

omitted that would have made the statements not misleading.

       The Court also excluded for now the FARA registration statement of FTI, but stated that

the defense is not precluded from cross-examining Mr. Hawker to elicit any bias arising out of

any promises or threats made by the government to Mr. Hawker or other FTI representatives

being interviewed in connection with this trial concerning FTI’s lack of registration.
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       Upon review of the parties’ filings [Dkt. ## 89, 90, and 92] on their completeness

objections and pursuant to Federal Rule of Evidence 106, the Court rules as follows: the

government must use the entire email string found in DX 88 instead of what has been marked as

GX 200. With respect to GX 566 and GX 577, the objection is overruled, and the exhibits will

be admitted as is; the proffered additional content in both exhibits is hearsay, and also, the Court

finds that it need not in fairness be considered with the government exhibit. DX 19 may only be

admitted as an attachment to the first email transmitting it, and the date of the email will be the

date on defendant’s exhibit list for this exhibit. The exhibit may not be admitted for the fact

that it was sent on April 5, 2012. DX 23 must be introduced as an attachment to an email that

fairly reflects the time of its creation, and DX 359 may be introduced only at the same time as

the document shown at GX 609, which includes a reference to the bill number.

       For the reasons stated on the record at the pretrial conference, the Court also ruled as

follows:

       All exhibits listed below for which no objections were made or to which objections have

been withdrawn are ADMITTED.

GX 1–7                    GX 118–119                 GX 214                     GX 325
GX 11–13                  GX 121–124                 GX 216                     GX 327–329
GX 25                     GX 126–127                 GX 220–221                 GX 331–332
GX 27                     GX 129                     GX 223–234                 GX 350–357
GX 28                     GX 131–132                 GX 250                     GX 359–64
GX 30–32                  GX 150                     GX 252                     GX 366–392
GX 34–57                  GX 152                     GX 254–255                 GX 394–395
GX 59–61                  GX 154–158                 GX 257–259                 GX 397–401
GX 64                     GX 160–161                 GX 261–264                 GX 403
GX 66–68                  GX 164                     GX 266–270                 GX 410–415
GX 70–71                  GX 166–167                 GX 272                     GX 417–420
GX 101–105                GX 170–171                 GX 275–281                 GX 422
GX 107–108                GX 173–174                 GX 300–305                 GX 425–448
GX 110–112                GX 176–190                 GX 307 310                 GX 450–451
GX 114                    GX 202–208                 GX 312–313                 GX 460–480
GX 116                    GX 210–212                 GX 315–323                 GX 500


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GX 503–506              GX 625–626               DX 85–98                  DX 224–231
GX 510                  GX 675–678               DX 100–103                DX 235–236
GX 517–518              ***                      DX 105–110                DX 238–241
GX 521–523              DX 1                     DX 112–132                DX 243–248
GX 525                  DX 3–4                   DX 134–137                DX 251–259
GX 529–532              DX 6                     DX 139–142                DX 263
GX 534                  DX 8–9                   DX 147–155                DX 265–267
GX 536–537C             DX 11–18                 DX 157                    DX 269–276
GX 544                  DX 20–22                 DX 159–162                DX 285–287
GX 560–565              DX 24–28                 DX 164                    DX 289–295
GX 568                  DX 30                    DX 167–176                DX 297
GX 571                  DX 32–33                 DX 178–181                DX 299–300
GX 573–576              DX 35–44                 DX 189–194                DX 302–303
GX 578–580              DX 46                    DX 196                    DX 305–312
GX 584                  DX 48–50                 DX 199–203                DX 314
GX 588–589              DX 52–59                 DX 207–209                DX 329
GX 593                  DX 63–71                 DX 211–212                DX 331–333
GX 601                  DX 75                    DX 214–216                DX 335–356
GX 607                  DX 77–81                 DX 218–220                DX 360–366
GX 614–619              DX 83                    DX 222                    DX 368

      The Court denied Defendant’s Motion in Limine [Dkt. # 47] to exclude evidence

regarding the Government of Ukraine’s procurement process. See also August 8, 2019 Minute

Order. Accordingly, all exhibits for which the only objection was “MIL Procurement,” listed

below, are ADMITTED.

GX 217–219              GX 585–587               GX 597–598                GX 604–606
GX 548–550              GX 590–592               GX 600                    GX 608
GX 581–583              GX 594–595               GX 602                    GX 611–613

      The defense withdrew its completeness objections to the following government exhibits,

so they are ADMITTED.

GX 8               GX 128              GX 151              GX 260               GX 599
GX 34–35           GX 130              GX 201              GX 265               GX 603
GX 106             GX 133              GX 209              GX 273               GX 609
GX 117             GX 149              GX 251              GX 567

      The Court also ruled that the following exhibits are ADMITTED:

GX 14–19                                         GX 115
GX 63                                            GX 165
GX 109–110                                       GX 222

                                             3
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GX 256                                               DX 73 with redaction
GX 306 subject to laying foundation                  DX 84
GX 326 for establishing chronology                   DX 99 for cross-examination
GX 421 with redactions                               DX 156 with redaction
GX 449 for cross-examination                         DX 184 with redaction
GX 528                                               DX 187
GX 535 for rebuttal                                  DX 197
GX 547 for cross-examination                         DX 242 with transmittal email
GX 569, 570, 572 only one, others                    DX 249 if defendant testifies
   duplicative                                       DX 250 with corrected date
GX 650–672 as demonstratives                         DX 268 article only
***                                                  DX 334
DX 34                                                DX 76 Haskell admitted if he testifies, Van
DX 47 with redaction                                   der Zwaan response excluded
DX 51 only statement regarding defendant             DX 357–358
  being “enraged,” reserve on middle email           DX 367
DX 60 for cross-examination


       The following exhibits are ADMITTED only for the fact that the statements they contain

were made (and responded to, if applicable), and the jury will be given a limiting instruction that

they may not be considered for the truth of any matter asserted.

GX 253
GX 264A
GX 274
GX 396 1




1        With respect to this exhibit, the government may state in opening that on December 13,
2012, Mr. Manafort sent an email re: “Well done” to the defendant expressing satisfaction with
the initial rollout of the report. It may not assert that this evidence will show that defendant was
in fact involved in “backgrounding” or that defendant’s “backgrounding” was “key.”
                                                 4
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        The Court RESERVED ruling on the following exhibits:

GX 9–10                    DX 61                      DX 177                     DX 320
GX 162–163                 DX 62                      DX 195                     DX 322
GX 172                     DX 104                     DX 262                     DX 324
GX 452–457                 DX 111                     DX 283                     DX 330
***                        DX 133                     DX 301
DX 2                       DX 165                     DX 313
DX 34                      DX 176                     DX 317

        The following exhibits were WITHDRAWN by the parties:

GX 8                       GX 69                      GX 358                     DX 188
GX 29                      GX 168                     GX 526                     DX 205
GX 58                      GX 175                     ***                        DX 282
GX 65                      GX 324                     DX 163                     DX 284

        The following exhibits are EXCLUDED:

GX 26                      DX 74                      DX 195                     DX 301
GX 125                     DX 76                      DX 206                     DX 313
GX 365                     DX 143                     DX 213                     DX 318–319
GX 393                     DX 145                     DX 221                     DX 330
GX 402                     DX 182                     DX 234
GX 547                     DX 183                     DX 260 –261
***                        DX 186                     DX 277–281

        Further, the Court ruled on August 12, 2019 that if any out of court statements made by

Mr. Manafort are admitted for the truth of any matter asserted, the defense may introduce the fact

of his convictions for the offenses reflected in DX 326 and DX 327 to impeach his credibility.

        Finally, the parties are ordered to provide the Court with revised exhibit lists omitting any

exhibits that have been withdrawn or excluded. The exhibits should not be re-numbered; there

will simply be gaps in the sequence. Exhibits still under advisement should be listed.

        SO ORDERED.




                                              AMY BERMAN JACKSON
DATE: August 13, 2019                         United States District Judge


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